                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

LEAGUE OF WOMEN VOTERS OF                      )
MISSOURI, et al.,                              )
                                               )
                       Plaintiffs,             )
                                               )
v.                                             )       Case No. 2:18-CV-04073-BCW
                                               )
JOHN R. ASHCROFT,                              )
in his official capacity as Missouri           )
Secretary of State, et al.,                    )
                                               )
                       Defendants.             )

                              AMENDED SCHEDULING ORDER

       Before the Court is the parties’ Joint Motion for Modification of Scheduling Order (Doc.

#102). The Court, being duly advised of the premises, grants said motion and establishes the

following amended deadlines.

       On August 8, 2018, the Court entered a Scheduling and Bench Trial Order (Doc. #81). The

scheduling order set the discovery closure deadline on November 6, 2018, and the dispositive

motion deadline on November 20, 2018. The scheduling order also set this matter for bench trial

on April 15, 2019.

       On October 19, 2018, the parties filed the instant joint motion to modify the original

scheduling order. (Doc. #102). The Court, having considered the joint motion and the amended

deadlines proposed, grants said motion. Accordingly, it is hereby

       ORDERED the parties’ Joint Motion for Modification of Scheduling Order (Doc. #102) is

GRANTED. It is further

       ORDERED any dispositive motion, except those under Fed. R. Civ. P. 12(h)(2) or (3), shall

be filed on or before April 30, 2019. It is further


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       ORDERED all pretrial discovery authorized by the Federal Rules of Civil Procedure shall

be completed on or before March 31, 2019. It is further

       ORDERED unless otherwise modified, all other deadlines and requirements set forth in the

original scheduling order remain unaltered and in effect. It is further

       ORDERED this matter is set for a telephone conference to schedule an amended trial date

on November 6, 2018, at 9:30 a.m. CST. The Courtroom Deputy, Joella Baldwin, will arrange

participation in the conference.

       IT IS SO ORDERED.




DATED: October 31, 2018                               /s/ Brian C. Wimes
                                                      JUDGE BRIAN C. WIMES
                                                      UNITED STATES DISTRICT COURT




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